Case 2:05-cr-20048-BBD Document 33 Fi|e@| 06/03/
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FoR THE WESTERN DIs'rRiCT or TENNESSEE Fi c v . _
WESTERN DIVISION 155 fit ~.-.. D.G.

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UNITED STATES OF AMERICA, RQB;:;E';' nn m mgng

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P}ajntiff’ W.E). GF Tt-t i\.'IEMF-‘HIS
VS. CR. NO. 05-20048-Ma
DAVID BEAU WARREN,

Defendant.

 

ORDER ON MOTION TO CONTINUE REPORT DATE
AND EXTENDING DEADLINE FOR FILING MOTIONS

 

Before the court is defendant’s May 26, 2005 motion requesting that the report date set for
l\/lay 31, 2005 be continued, and requesting an extension of time Within Which to file pretrial
motions For good cause shown, the motion for extension of time to file pretrial motions is granted
Defendant is allowed an additional 60 days to file pretrial motions in this case.

The motion to continue is moot in that counsel appeared before the court at the May 31 , 2005
report date and the court continued this case to the August 1, 2005 rotation docket beginning at 9:30
a.m. With a report date ofJuly 22, 2005 at 2:00 p.m.

Defendant failed to appear at the report date and defense counsel made an oral motion to
Waive defendant’s appearance The court conditionally granted the request pending receipt of a
written Waiver by the defendant

The period from May 31, 2005, through August l2, 2005, is excluded under 18 U.S.C. §
3161(h)(8)(B)(iv) to allow defense counsel additional time to prepare

iT ls so 0RDERE1) this the 3 'k day oflune, 2005.

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sAMTJEL H MAYs JR
UNITED sTArEs DrsTRICT JUDGE

1sT1C COURT -WESTER DISTRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:05-CR-20048 Was distributed by fax, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

